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     United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                           2:13-CR-00084-GEB
12                   Plaintiff,
                                                       STIPULATION AND ORDER FOR
13          v.                                         MONEY JUDGMENT BRIEFING
                                                       SCHEDULE AND HEARING AS TO
14 SURJIT SINGH,                                       DEFENDANT SURJIT SINGH
   RAJESHWAR SINGH and
15 ANITA SHARMA,

16                   Defendants.
17

18          The United States of America through its undersigned counsel, Kevin C. Khasigian, Assistant

19 United States Attorney, and counsel for Defendant Surjit Singh, Tom Johnson, respectfully propose the
20 following briefing schedule for the United States’ Application for a Forfeiture Money Judgment filed

21 on April 13, 2018 [ECF No. 208]: Defendant Surjit Singh to respond no later than August 31, 2018,

22 and the United States to reply no later than September 4, 2018. The briefing schedule is requested to

23 sync the forfeiture money judgment application and sentencing proceedings, currently scheduled on

24 September 7, 2018. The parties further request that the Court hold a hearing on the money judgment

25 application on September 7, 2018 as part of each defendant’s sentencing proceeding.
26          WHEREFORE, based on the foregoing, and for good cause shown, the United States and

27 Petitioners hereby stipulate that a hearing be scheduled on September 7, 2018 as part of Defendant

28                                                     1
     Stipulation and Order
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           Case 2:13-cr-00084-TLN-CSK Document 232 Filed 06/13/18 Page 2 of 2



 1 Surjit Singh’s sentencing, the Defendant to file any response to the United States’ application by

 2 August 31, 2018, and the United States to file any reply by September 4, 2018.

 3

 4 Dated:       5/24/2018                                McGREGOR W. SCOTT
                                                         United States Attorney
 5

 6                                               By:     /s/ Kevin C. Khasigian
                                                         KEVIN C. KHASIGIAN
 7                                                       Assistant U.S. Attorney
 8
     Dated:     5/24/2018
 9                                               By:     /s/ Thomas A. Johnson
                                                         THOMAS A. JOHNSON
10                                                       Counsel for Defendant Surjit Singh
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                                                    ORDER
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              IT IS SO ORDERED.
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     Dated: June 13, 2018
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     Stipulation and Order
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